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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                        CASE NO. 24-CR-20343-KMW/Goodman

  UNITED STATES OF AMERICA,
        Plaintiff,
  vs.
  ROGER ALEJANDRO PIÑATE MARTINEZ,

        Defendant.
  ________________________________________/
                       DEFENDANTS’ REPLY IN SUPPORT OF
                     JOINT MOTION TO CONTINUE DEADLINES

        The government has no objection to Roger Piñate’s and Jorge Vasquez’s joint

  motion to continue the deadline for the submission of dispositive motions. See (ECF

  No. 119) at 2 (“To the extent that the defendants seek 30 days for additional time to

  prepare dispositive motions, the government does not object.”). As Mr. Piñate and

  Mr. Vasquez do, in fact, require additional time to prepare dispositive motions, they

  respectfully ask that the Court continue the current Friday deadline until April 28,

  2025, 1 and grant the government until May 19, 2025 to file its responses. 2 A copy of

  a proposed order is attached as Exhibit A.

  Dated: March 24, 2025




  1 A thirty-day extension would fall on Sunday, April 27, 2025, making the motions

  due the following day. See Fed. R. Crim. Pro. 45(a)(1)(C).

  2 The current scheduling order (ECF No. 72) afforded the government 21 days to file

  its responses, which—if the extension were granted—would fall on May 19, 2025.
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                                         Respectfully submitted,


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                                         Counsel for Defendant Roger Alejandro
                                         Piñate Martinez


                            CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was filed

  via electronic filing using the CM/ECF system with the Clerk of Court which sent an

  e-mail notification of such filing to all CM/ECF participants on March 12, 2025.


                                         /s/ Curtis B. Miner
                                         Curtis B. Miner, Esq.




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